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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,

 v.                                                       Case No.: 5:21-CV-0844-XR

 GREGORY W. ABBOTT, et al.,

                                             ORDER

               BE IT REMEMBERED on this day, there was presented to the Court the Motion

for Admission Pro Hac Vice filed by Aaron J. Curtis, counsel for Plaintiffs Friendship-West

Baptist Church, Texas Impact, and James Lewin, and the Court, having reviewed the motion,

enters the following order:

               IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED,

and Aaron J. Curtis may appear on behalf of Plaintiffs Friendship-West Baptist Church, Texas

Impact, and James Lewin in the above case.

               IT IS FURTHER ORDERED that Aaron J. Curtis, if he has not already done so,

shall immediately tender the amount of $100.00, made payable to: Clerk, U.S. District Court,

in compliance with Local Court Rule AT-l(f)(2).

               SIGNED this the _____ day of _______________, 20_____.




                                             HON. XAVIER RODRIGUEZ
                                             UNITED STATES DISTRICT JUDGE
